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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiffs,                                   4:13CR3025

       vs.
                                                        MEMORANDUM AND ORDER
JESUS SAMANIEGO-GARCIA,

                     Defendants.


       Defendant’s retained counsel, Thomas L. Niklitschek, has moved to withdraw. (Filing
No. 134). The defendant Jesus Samaniego-Garcia has been granted leave to appeal in forma
pauperis and is eligible for appointed counsel pursuant to the Criminal Justice Act, 18 U.S.C.
§3006A, and the Amended Criminal Justice Act Plan for the District of Nebraska.

       IT IS ORDERED:

       1)     Defense counsel's motion to withdraw, (filing no. 134), is granted. Thomas L.
              Niklitschek is hereby withdrawn as counsel, and he shall promptly notify the
              defendant of the entry of this order.

       2)     Thomas L. Niklitschek shall file a certificate of service indicating that he has
              provided a copy of this order to Jesus Samaniego-Garcia, along with a description
              of the method and location where service was made.

       3)     The clerk shall forward this memorandum and order to the Federal Public
              Defender.

       4)     The Federal Public Defender for the District of Nebraska is appointed to represent
              the above named defendant in this matter. In the event that the Federal Public
              Defender accepts this appointment, the Federal Public Defender shall forthwith
              file an appearance in this matter. In the event the Federal Public Defender should
              decline this appointment for reason of conflict or on the basis of the Criminal
              Justice Act Plan, the Federal Public Defender shall forthwith provide the court
              with a draft appointment order (CJA Form 20) bearing the name and other
              identifying information of the CJA Panel attorney identified in accordance with
              the Criminal Justice Act Plan for this district.

       5)     The newly appointed counsel shall promptly file an entry of appearance on behalf
              of the defendant.

       October 1, 2013.                            BY THE COURT:
                                                   s/ Cheryl R. Zwart
                                                   United States Magistrate Judge
